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THE UNITED STATES DISTRICT COURT

 

JAN 19 2012
FOR THE EASTERN DISTRICT of CALIFORNIA pistaict cou
EASTERN DISTRICT OF CALIF
" TY CLERK
GREGORY STEVEN WITHROW. No. CIV-12-00021-LKK-CMK
PLAINTIFF, PRO-SE. MOTION TO APPEAL FINDINGS.
RECOMMENDATIONS of
vs. JANUARY 11th, 2012.

THE GOVERNMENT of CALIFORNIA, for THE HATE-CRIME and
WAR-CRIME of GENOCIDE. -pEFENDANTS.
The denial of The Plaintiff's claim is based on Nietzke

v. Williams and Franklin v. Murphy. In this Defendants

claim their innocence to the allegation of the Genocide
of The White Race in California is frivolous and that no
accused party’: is to be held liable based on special
immunity from prosecution, and. Bhat Plaintiff has no FACTUAL or
LEGAL basis by which the charges are presented.

Defendants in this case show no merit or honor and seek to
hide behind the color of law.

Plaintiff has stated that the allegation of Genocide is
provable and needs a court to present the Corpus Delecti.
If a Government body can not be held responcible for
negligent, wrongful or intentional Genocide, who can?

The findings of The Court do not disclaim the FACT of
Genocide, but simply deny the right of the Plaintiff to
present the Government with further proof, of the crime.
And to further exonerate Defendants position.

THIS CASE IS UNPRECEDENTED. The’case is filed under
ARTICLE 81. 103.22. SEE CIVIL COVER SHEET.

There is no prior ruling in California coping with the

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scope of such an allegation.

2) PLAINTIFF SEEKS TO SET PRECEDENT.

3) Defense seeks to deny this.

4) In plain English, The Federal Court maintains a "right"

5) to the continued Genocide of White Citizens in California while
6) not allowing the right of citizens to present their arguments,
7) Plaintiff argues that it is Self-Evident that Mexico

8) has invaded California illegally, the result being Genocide.

9)

Plaintiff argues that the Illegal Invaders are protected

10) by the Federal Government and that Whites are not protected.
11)Further, The Court made issue of the fact that Plaintiff attached
12)a document stating that he is a member of the Ku Klux Klan.

13) However, membership in a political or religious group is

14)not a crime. Thus The Court has shown extreme bias. Bias is

15)unworthy unto itself to dismiss a case.

16) befendants are not immune from prosecution for Genocide, no

17h more than Sadam Huusein or Osama Bin Laden. Iraq used nerve
18) gas on the Kurds, The Mexican Reconquista uses gangs, drugs, inti
19) intimidation, knives and guns. the result remains the same. Iraq
20) invaded Kuwait, Mexico has invaded California, and the Court
21) protects The Invasion. A fact of commonplace knowledge, to

22) white People, while the Court maintains a "let them eat cake"

23) mentallity, towards the People. Defendants have embraced the

24) “ILLEGAL INVADERS" and throw forth obtruse and inane law to hide
25) behind.

26) Defendants fall under 103.23 and have sought to protect their
27) unlawful purpose. Conspiracy to Interfere with Civil Rights.-

28) Existence of a Conspiracy. Defendants through contrivance 4

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1) positively or tactically came to a mutual understanding to

2) try to accomplish their unlawful plan.

3) Instead of acting like men and accepting your punishment,
4) you seek as the animaks that you are to dodge the bullet.

5) Your actions are not only cowardly but dishonorable.

6) Defendants concentrate upon a KKK certificate but overlook

7) notes and letters of praise from the Attorney General, The

8) Lt. Governor etc- THUSLY- Selective bias and discrimination

9) has thus been proven, already in this case.

10) Under 103.23 The evidence in such a case need not show
11) that all means and methods were not agreed upon were actually
12) used in or put into operation. In this Plaintiff alleges that
13) Defendants are co-conspirators with Mexico, one may become part
14) of a conspiracy without full knowledge of all the details of
15) the conspiracy. 103.24-103.25.

16) Defendants dismiss claim on Cato vs. United States, but
17) fail to cite any prior ruling to The Accusation of Genocide.
18) At best, The Court is incompetant. There-fore Cato- vs.

19) The United States is frivilous, if not maliscious in its rendering:

20) And thus a waste of the Courts and this Plaintiff's time.

21) a1] documentation within the original filed case are to show
22)the vastness of The Conspiracy to commit Genocide and show no
23) other purpose, in presenting 103.23

24) PLAINTIFF THEREFORE MAKES THIS APPEAL TO MOVE TOWARDS
25) TRIAL for THE HATE-CRIME and WAR-CRIME of GENOCIDE.

26) However, Plaintiff will concede to venting, using this
27)lawsuit and does not mean to stray from the issue: GENOCIDE.

28) Because a Genocide case is unprecedented in the

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1) magnitude this Plaintiff wishes to express, it does not relieve

2) the Defendants from the burden of proving their innocence.

3) Because Defendants are "Habitual Offenders" Defendants

4) seek to rise above the law, or hide behind the color of it.

5) SEE: Lynns v. State of Oklahoma. 581,120 p 665. "Hatred and

6) Revenge enter largely into punishment amongst barbarians and

7) Savages, but amongst Civilized Peoples, (Such as The Aryans)

8) punishment is only inhlicted for the purpose of protecting

9) society and not for revenge. in other words the law never
10). seeks a victim, but only to reform the offender. SEE:

11) Bx Parte United States 242 US 27, 61 L Ed 129, 37 ct. 72.
12) See: Commonwealth vs. Ritter, 13 pa D 285 reference 55-11-98.
13) Because. Judge Craig M. Kellison, showed extreme racial
14) bias by noting a Ku Klux Klan Certificate, but showed no focus
15)o0n notes from the Attorney General, The Lt. Governor, The
16)B'nai B'rith, The Jewish Federation, etc, The Judge showed
17)extreme bias in weighing his decision to dismiss case

18)2:12-cv-00021-LKK-CMK: AKA: CASE 12-21-12. and has denied

19)The entire Aryan Race a right to petition this Court concerning

20)the Genocide of Plaintiff's Race.

21) Therefore: Judge Craig M. Kellisons motion to dismiss

22)this case is based on unwarrented bias and prejudiced. Therefore
23) Judge Craig M. Kellison's motion to dismiss this case on the
24) basis of personal bias is unwarrented under 103.23, while

25) engaged in the corrupting influence of Genocide against the

26) Aryan People.

27) A motion to move towards hearing towards Trial for The

28) Hate-Crime and War-Crime of Genocide post 9-11/2001, via

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embrace of The state of the Illegal Reconquista thus be
granted.
MOTION TO DISMISS CASE: DENIED.

Motion for petition towards trial for Genocide is to

be granted to the People.

This Appea¥-is hereby submitted towards hearing.

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Under Penalty of Perjury
The Above Mentioned is
Both True and Correct.

GREGORY STEVEN WITHROW
Plaintiff-Pro-Se.

January 15th, 2012.

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